       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 1 of 23




                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

DAWN BRANCH

               Plaintiff,

       v.                                           CIVIL NO. 2:22-CV-00641
CVS PHARMACY, INC.

               Defendant.


                                        COMPLAINT

       Plaintiff Dawn Branch asserts her causes of action against defendant CVS Pharmacy, Inc.

as follows:

                                        THE PARTIES

1.     Plaintiff is Dawn Branch, in both her individual and representative capacities, who is a

person of majority, currently domiciled in Louisiana and residing in St. Tammany Parish.

2.     Defendant is CVS Pharmacy, Inc. (“CVS”), a foreign corporation incorporated and

headquartered in Rhode Island, and which, upon information and belief, is registered and actively

doing business in Louisiana.

                               JURISDICTION AND VENUE

3.     The Court has subject-matter jurisdiction over this matter pursuant to 28 U.S.C. § 1331

(federal question); 29 U.S.C. § 206 (the Fair Labor Standards Act minimum wage provisions); §

207 (FLSA overtime wage provision); and § 216 (FLSA collective action provisions) as more

particularly set-out herein.

4.     The Court has supplemental, subject-matter jurisdiction over Ms. Branch’s Louisiana state

law claims pursuant to 28 U.S.C. § 1367(a) because the state-law claims are so related to her


                                               1
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 2 of 23




federal law claims that they form part of the same case or controversy as more particularly set-out

herein.

5.        The Court has personal jurisdiction over CVS Pharmacy Inc. because it is a foreign

corporation registered and actively doing business in Louisiana, and, through its registered agent

for the service of process, C T Corporation System, is present within Louisiana at the time this suit

commenced.

6.        Alternatively, the Court has personal jurisdiction over CVS Pharmacy Inc. because, upon

information and belief, it regularly transacts business in Louisiana; regularly employs Louisiana

citizens; derives substantial revenue from the services it provides in Louisiana; committed the

unlawful acts in Louisiana that injured Ms. Branch in this case; and committed the unlawful acts

in Louisiana otherwise giving rise to the causes of action in this case. Thus, CVS Pharmacy Inc.

has established minimum specific contacts with Louisiana, arising from the facts of this case,

comporting with the requirements of fair play, substantial justice, and the Fourteenth Amendment

of the Constitution of the United States.

7.        Venue for Ms. Branch’s FLSA and state-law claims is proper in this Court pursuant to 28

U.S.C. § 1391(b)(2) because the parties contracted for Ms. Branch’s employment and engaged in

the FLSA and state-law wage violations alleged in this matter in this judicial district (specifically,

St. Tammany Parish), and Ms. Branch’s resulting harm was suffered in this judicial district (same).

                     PROCEDURAL AND STATUTORY ALLEGATIONS

8.        At all times, CVS was engaged in interstate commerce by buying medicines and other

consumer goods from outside of Louisiana, then shipping those goods to Louisiana, then selling

those goods from its Louisiana pharmacies, including the pharmacy Ms. Branch was employed at,

to both customers located inside and outside of Louisiana.


                                                  2
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 3 of 23




9.     In both 2020 and 2021, CVS earned total revenues greater than $500,000.

10.    On or about June 2020, CVS hired Ms. Branch as its full-time employee in the position of

“staff pharmacist.”

11.    At all times, Ms. Branch in her position of staff pharmacist regularly engaged in interstate

commerce by, among other things, regularly receiving, accounting for, and dispensing medicines

which had been shipped in interstate travel to customers in Louisiana; by regularly accessing CVS

computer systems connected to other systems located outside of Louisiana; and by regularly

making phone calls to or communicating with people outside of Louisiana.

12.    Upon information and belief, Ms. Branch’s position of “staff pharmacist” is a specific job

title utilized by CVS pharmacy across its entire pharmacy workforce in Louisiana.

13.    Upon information and belief, a “staff pharmacist” employed by CVS pharmacy has the

same job description and job responsibilities as any other staff pharmacist employed in Louisiana.

14.    Upon information and belief, and as further alleged below, all “staff pharmacists” located

in Louisiana are similarly situated with respect to CVS’s obligation to pay those pharmacists

minimum wage and overtime wages under the FLSA.

15.    At all times, Ms. Branch was assigned to CVS’s Louisiana Pharmacy 05451 located in

Franklinton, Louisiana.

16.    Ms. Branch was continuously employed by CVS until her constructive discharge on or

about June 4, 2021.

17.    At all times, CVS classified Ms. Branch as its employee.

18.    At all times, CVS paid Ms. Branch on an hourly basis (not on a salary basis).

19.    At all times, CVS paid Ms. Branch approximately $56.28 per hour.

20.    At all times, Ms. Branch was entitled to overtime wages for all hours worked in a week


                                                3
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 4 of 23




greater than 40, except that CVS misclassified Ms. Branch as an exempt employee ineligible for

overtime wages under the FLSA.

21.    At all times, upon information and belief, CVS did not guarantee Ms. Branch any minimum

pay on a weekly or less frequent basis.

22.    Alternatively, upon information and belief, CVS guaranteed Ms. Branch some minimum

pay on a weekly or less frequent basis, but that guaranteed pay was no greater than $684 per week.

23.    Alternatively, upon information and belief, CVS guaranteed Ms. Branch some minimum

pay on a weekly or less frequent basis, but that guaranteed pay was not reasonably related to her

actual weekly pay.

24.    Specifically, Ms. Branch earned at on average, approximately, $2,100.00 in hourly wages

per week based on the number of hours she actually worked.

25.    Upon information and belief, whatever minimum pay CVS guaranteed Ms. Branch was

significantly less than her weekly earnings, and had no reasonable relationship to her weekly

earnings, such that the minimum guarantee was merely a sham to avoid overtime pay requirements

under federal law.

26.    Upon information and belief, all of CVS’s staff pharmacists located in Louisiana were –

just like Ms. Branch – classified as exempt employees; paid an hourly rate (and not on a salary

basis); not paid for more than 37.5 hours per week regardless of how many more hours the

pharmacist worked during the week; and either not guaranteed any minimum salary, or guaranteed

a minimum salary that had no reasonable relationship to the employee’s actual, weekly earnings.

27.    To the best of recollection and belief, Ms. Branch always worked more than 40 hours per

week, usually, approximately, at least 45 hours per week.

28.    Nevertheless, CVS never paid Ms. Branch for more than 37.50 work hours per week.


                                                4
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 5 of 23




29.    Upon information and belief, CVS unlawfully and intentionally failed to pay Ms. Branch

overtime wages she was due for working more than 40 hours during any given workweek (FLSA).

30.    On or about June 4, 2021, Ms. Branch was constructively discharged and resigned from

her employment.

31.    At the time of her constructive discharge, upon information and belief, Ms. Branch had

unused vacation time which she was owed.

32.    At the time of her constructive discharge, upon information and belief, Ms. Branch had

unpaid wages that she was owed.

33.    Upon information and belief, CVS unlawfully and intentionally failed to pay Ms. Branch

for all her accrued vacation time and paid leave of absence time within two weeks of her

termination.

34.    After her constructive discharge, Ms. Branch gave written and other notice to CVS that she

was owed unpaid wages and vacation leave, but to date CVS has not fully paid Ms. Branch these

amounts.

35.    Upon information and belief, CVS unlawfully and intentionally continues to refuse to pay

Ms. Branch for her unpaid wages and vacation leave to date.

                                            FACTS

A.     The Plaintiff — Dawn Branch

36.    Dawn Branch is a 49-year-old woman living with her husband and children in Bush,

Louisiana.

37.    Ms. Branch is a pharmacist licensed to practice in Louisiana.

38.    Ms. Branch relies on her income and work as a pharmacist to support her family.




                                               5
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 6 of 23




B.     The Defendant — CVS Pharmacy Inc.

39.    CVS Pharmacy Inc. is a corporation incorporated and headquartered in Rhode Island.

40.    CVS operates an international chain of drugstores and pharmacies and maintains

approximately close to 10,000 retail locations worldwide.

41.    CVS employs many thousands of people worldwide.

42.    CVS is registered in Louisiana and has appointed an agent for service of process in

Louisiana.

43.    CVS maintains many stores and pharmacies in Louisiana.

44.    CVS employs many workers in Louisiana.

45.    CVS employs many staff pharmacists in Louisiana.

46.    Upon information and belief, the most common job title assigned to any of its pharmacist

employees assigned to any retail pharmacy is “staff pharmacist.”

47.    A “staff pharmacist” is not expected to manage other pharmacists assigned to a retail

pharmacy.

48.    Instead, CVS employs other pharmacists in the position of “Pharmacy Managers” who

exercise that supervisory responsibility.

49.    During the relevant times in this case, CVS employed Ms. Branch as a pharmacist and

assigned her to its Store 5451 in Franklinton, Louisiana.

50.    At all times relevant to this case, Ms. Branch’s direct supervisor was Justin Fox, the

Pharmacy Manager of Store 5451.

51.    At all times relevant to this case, Ms. Branch’s second level supervisor was Stacy Polito,

the District Manager of Store 5451 and other CVS locations located throughout Louisiana.




                                                6
        Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 7 of 23




C.      CVS Misclassified Ms. Branch as an Exempt Employee and Failed to Pay Her
        Minimum Wages and Overtime Wages

52.     Upon information and belief, CVS classified Ms. Branch as an “exempt” employee for

purposes of overtime pay obligations under the FLSA.

53.     In reality, upon information and belief, Ms. Branch was really a non-exempt worker who

CVS misclassified as “exempt.”

54.     CVS indicated to Ms. Branch that she was paid a “salary” for her work.

55.     In reality, upon information and belief, Ms. Branch was not a salaried worker, and CVS

paid her an hourly rate for her work with no guaranteed minimum salary per week.

56.     Specifically, CVS actually paid Ms. Branch the rate of $56.28 for every hour that she

worked.

57.     Ms. Branch’s pay stubs issued by CVS confirmed she was paid at the rate of $56.28 per

hour.

58.     CVS paid Ms. Branch this hourly rate for each hour of work she performed during the week

up to a maximum of 37.5 hours in a week.

59.     After working 37.5 hours in a week, CVS did not pay Ms. Branch any wages no matter

how many extra hours she worked.

60.     But during weeks in which Ms. Branch worked less than 37.5 hours, CVS only paid Ms.

Branch for those hours she worked.

61.     For instance, for the pay period ending on May 29, 2021, Ms. Branch only worked 19.5

hours, and CVS only paid Ms. Branch for those hours.

62.     Overall, based on CVS’s pay policies, Ms. Branch earned approximately $76,031.88 in

gross wages in 2020.

63.     Overall, based on CVS’s pay policies, Ms. Branch earned approximately $44,349.91 in

                                               7
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 8 of 23




gross wages in 2021.

64.    Overall, based on CVS’s pay policies, had Ms. Branch continued to work for all of 2021,

she expected to earn approximately $105,115.04 in gross wages and compensation.

65.    Upon information and belief, Ms. Branch worked more than 40 hours per week almost

every week while she was employed by CVS.

66.    Upon information and belief, Ms. Branch averaged approximately 45 hours of work per

week almost every week she was employed by CVS pharmacy.

67.    Upon information and belief, Ms. Branch was never paid for any amount of overtime, no

matter how many hours she worked in excess of 40 hours a week.

68.    Upon information and belief, CVS intentionally and unlawfully failed to pay Ms. Branch

for the overtime she accrued during her entire career with CVS.

69.    Upon information and belief, CVS purposefully misclassified Ms. Branch as an “exempt”

worker specifically to avoid its overtime obligations under the FLSA.

70.    Upon information and belief, CVS had no good-faith basis for its misclassification.

71.    In total, during her entire full-time employment with CVS from June 2020 through June 4,

2021, Ms. Branch worked approximately 52 weeks.

72.    Upon information and belief, working approximately 45 hours per week almost every week

during her employment, CVS failed to pay Ms. Branch for at least 255 hours of overtime pay

during her employment.

73.    At the time-and-a-half rate of $84.42 per hour, upon information and belief CVS owes Ms.

Branch at least $21,527.10 in unpaid overtime wages.

74.    Further, upon information and belief, to the extent CVS also failed to pay Ms. Branch any

wages at all for the 2.5 hours of work between 37.5 and 40 hours per week she almost always


                                               8
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 9 of 23




worked, CVS failed to pay Ms. Branch approximately 145 hours of regular pay during her

employment.

75.    At the regular rate of $56.28 per hour, upon information and belief, CVS owes Ms. Branch

at least an additional, approximate $7,175.70 in unpaid regular wages.

D.     Ms. Branch Is Similarly Situated to All CVS Staff Pharmacists Employed in
       Louisiana

76.    Ms. Branch is similarly situated to all other CVS staff pharmacists employed in Louisiana

for purposes of vindicating both her and their right to receive both minimum and overtime wages

under the FLSA.

77.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief CVS gives all its staff pharmacists substantially

identical job descriptions, responsibilities, and duties.

78.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief CVS misclassifies all of their staff pharmacists

as exempt from both minimum and overtime wages under the FLSA.

79.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief CVS pays all of their staff pharmacists on an

hourly rate (not on a salary basis).

80.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief CVS does not pay its staff pharmacists for any

hours worked during the week greater than 37.5.

81.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief all CVS staff pharmacists regularly work more

than 40 hours per week.

                                                   9
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 10 of 23




82.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief CVS does not pay its staff pharmacists for the

minimum and overtime wages they are owed.

83.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because upon information and belief CVS does not pay its staff pharmacists any

guaranteed salary at all; or, if any such salary is paid, the salary has no reasonable relationship to

the actual amount of wages the staff pharmacist earns per week.

84.    Specifically, Ms. Branch is similarly situated to all other CVS staff pharmacists employed

in Louisiana because – given that CVS does not pay any of its staff pharmacists on a salary basis

– the so-called “professional exemption” of the FLSA does not apply to Ms. Branch or any other

staff pharmacist as a matter of law. See 29 C.F.R. § 541.600(a) (requiring employer to pay

professional employee on a “salary basis” to claim the exemption); and also 29 C.F.R. §

541.600(e) (providing that licensed pharmacists are not the sort of “medical occupation” that may

be paid on an hourly rate and still claim the “professional” exemption).

85.    In other words, Ms. Branch is similarly situated to all other CVS staff pharmacists

employed in Louisiana because the only two differences between the compensation Ms. Branch is

owed versus what each of her similarly-situated peers is owed is (1) the specific hourly rate paid

to each pharmacist, and (2) the number of hours each pharmacist worked (but was not paid for)

each week.

E.     CVS Has No Good-Faith Basis for Its Misclassification and Failure to Pay Required
       Minimum and Overtime Wages under the FLSA

86.    Upon information and belief, and at all relevant times in this matter, CVS knew that its

Louisiana staff pharmacists were not exempt under the FLSA’s minimum and overtime wages

provisions, yet CVS continued to misclassify its staff pharmacists and refused to pay them their

                                                 10
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 11 of 23




owed minimum and overtime wages.

87.    Upon information and belief, CVS has no good-faith basis for believing its Louisiana staff

pharmacists were exempt under the FLSA’s minimum and overtime wages provisions, nor that

CVS did not owe them their earned, minimum and overtime wages.

F.     CVS Failed to Pay Ms. Branch Accrued, Paid Vacation Leave at the Time of Her
       Constructive Discharge

88.    Additionally, upon information and belief, during Ms. Branch’s employment, CVS

maintained a paid vacation policy for its staff pharmacists.

89.    Upon information and belief, that policy, relevant here, provided Ms. Branch with up to

150 hours of vacation time, every year beginning on January 1, that accrued incrementally every

day for the entire calendar year, culminating in 150 hours of leave as of December 31.

90.    Upon information and belief, pursuant to that policy, CVS awarded Ms. Branch 150 hours

of paid vacation leave on January 1, 2021 on a daily, accruing basis.

91.    Upon information and belief, Ms. Branch used minimal or no vacation time in 2021.

92.    Upon information and belief, Ms. Branch had approximately 64.50 hours of accrued

vacation time (and an additional 8 hours of paid vacation time known as “Holiday Float” that was

also awarded to Ms. Branch per CVS policy) at the time of her constructive discharge on or about

June 4, 2021.

93.    Upon information and belief, Ms. Branch eventually received a final paystub that indicated

that her accrued but unpaid balance of vacation time was 64.50 hours, with an additional unpaid

balance of 8 hours of “Holiday Float.”

94.    Thirteen days after her constructive discharge, on June 17, 2021, Ms. Branch contacted

CVS’s corporate office to complain about her unpaid vacation leave.



                                                11
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 12 of 23




95.     A CVS “Advice and Counsel” employee from its corporate office indicated to Ms. Branch

that the CVS employees who could resolve her complaint were Mr. Fox and Ms. Polito, but that

the two would not return phone calls or emails from the corporate office regarding the issue.

96.     Ms. Branch followed up with CVS’s corporate office again on or about June 21, 2021, and

the “Advice and Counsel” employee continued to indicate that Mr. Fox and Ms. Polito were not

responsive to the corporate office’s requests.

97.     Thereafter, Ms. Branch sent a formal, written demand for all her unpaid wages and vacation

leave via email and U.S. postal service priority mail to Ms. Polito dated June 21, 2021.

98.     Ms. Branch copied CVS’s corporate office to her email to Ms. Politio.

99.     In her correspondence, Ms. Branch demanded payment of her unpaid vacation leave

Holiday Float time, and other unpaid money owed.

100.    On June 24, 2021, Ms. Branch made a formal complaint via CVS’s “Ethics Point” online

portal stating that she had still not received payment for her unpaid and owed leave.

101.    On July 3, 2021, Ms. Branch received a pay stub from CVS dated July 1, 2021, indicating

an additional payment of 27 hours of unpaid vacation time.

102.    Ms. Branch never received any indication, explanation, or notice as to how or why CVS

had determined or decided to pay her for 27 hours of unpaid leave but did not pay the remaining

45.5 hours of combined vacation and Holiday Float leave.

103.    To date, CVS still fails to pay Ms. Branch for these accrued but unpaid 45.5 hours of

combined leave.

104.    Upon information and belief, at the rate of $56.28 per hour for each hour of unpaid vacation

or other leave, CVS owes Ms. Branch at least $2,560.74 in unpaid leave wages.




                                                 12
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 13 of 23




                                     CAUSES OF ACTION

A.      Unlawful Failure to Pay Overtime Wages in Violation of the Fair Labor Standards
        Act against CVS (Individual Claim)

105.    Ms. Branch states an individual cause of action for unlawful failure to pay overtime wages

against CVS under the Fair Labor Standards Act.

106.    Under the Fair Labor Standards Act, a covered employer is required to pay an hourly

employee overtime wages at the rate of 1.5 times the employee’s regular rate of pay for each hour

over 40 worked in a weekly pay period. 29 U.S.C. § 207(a) et seq. An employer who fails to pay

an employee 1.5 times her regular rate of pay for each overtime hour worked owes the employee

the lost value of these unpaid wages, doubled as liquidated damages unless the employer proves it

acted in good faith. Black v. SettlePou, P.C., 732 F.3d 492, 501 (5th Cir. 2013) (citing 29 U.S.C.

§ 216(b) (regarding overtime wages specifically).

107.    Here, there is no question that CVS is a covered employer under so-called “enterprise

coverage” because CVS took in more than $500,000 in revenue during the years of Ms. Branch’s

employment. In the alternative, Ms. Branch is a “covered employee” because she engaged in

interstate commerce as part of her job responsibilities.

108.    FLSA regulations do exempt employees from payment of minimum and overtime wages

to the extent the worker is “employed in a bona fide . . . professional capacity[.]” 29 U.S.C. §

213(a)(1). But, to claim the so-called “professional” exemption, the employer must pay his

professional employee on a “salary basis.” See 29 C.F.R. § 541.600(a) (so providing). While

certain other professional employees who work in “medical occupations” may be excluded from

the “salary basis” requirement, federal regulations specifically exclude pharmacists from that

exception. See 29 C.F.R. § 541.600(e) (so providing). Accordingly, to qualify for the so-called



                                                 13
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 14 of 23




“professional” exemption under the FLSA, a person employed as a pharmacist must be paid on a

salary basis.

109.    Otherwise, FLSA regulations also exempt employees from payment of overtime wages if

they meet the criteria of “highly compensated employees,” which, relevant to this case, requires

that (1) the employee regularly performs professional duties; (2) the employee is paid a “total

annual compensation of at least $107,432”; and (3) the employee is paid at least $684 in guaranteed

salary per week. See 29 C.F.R. §§ 541.601(a)(1), (b)(1).

110.    FLSA regulations define “salary” as compensation paid “on a weekly, or less frequent

basis,” “without regard to the number of days or hours worked.” 29 C.F.R. § 541.602(a) & (a)(1).

Specific to the “highly compensated employee” exemption, the Fifth Circuit en banc recently

reiterated that an employer must still pay such an employee at least the minimum, statutorily

required salary, and that the salary must have a “reasonable relationship” to the amount of wages

the employee actually earns:

        [Under] 29 C.F.R. § 541.604(b) . . . “[a]n exempt employee’s earnings may be
        computed on an hourly, a daily or a shift basis, without losing the exemption or
        violating the salary basis requirement, if the employment arrangement also includes
        a guarantee of at least the minimum weekly required amount paid on a salary basis
        regardless of the number of hours, days or shifts worked, and a reasonable
        relationship exists between the guaranteed amount and the amount actually
        earned.” So a daily-rate worker can be exempt from overtime – but only “if” two
        conditions are met: the minimum weekly guarantee condition and the reasonable
        relationship condition.

Hewitt v. Helix Energy Sols. Grp., Inc., 15 F.4th 289, 291 (5th Cir. 2021). To the extent a highly

compensated employee is either not paid the statutorily required weekly salary, or that the

employee’s salary does not have a reasonable relationship to total wages earned, the exemption

does not apply, and the employee must still be paid minimum and overtime wages under the FLSA

See id. at 292 (so holding).


                                                14
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 15 of 23




111.    The Department of Labor has previously rendered a formal opinion that a reasonable

relationship between an employee’s guaranteed weekly salary and actual earnings may not exceed

a 1:1.5 ratio. Meaning, that an employer who regularly pays an employee more than 1.5 times his

guaranteed salary is not paying that worker wages that have a “reasonable relationship” to his

salary; and, in that case, the employer is not entitled to claim any exemption dependent upon

paying its worker on a “salary basis.”       See Dep’t of Labor, FLSA 2018-25, “Reasonable

relationship” between salary paid and actual earnings (Nov. 8, 2018).

112.    In this case, no matter whether Ms. Branch meets the criteria concerning (1) the

performance of executive, administrative, and professional duties and (2) the minimum income

threshold under the exempt employee test, Ms. Branch was not paid on a “salary basis” as

contemplated by the FLSA regulations and as interpreted by the Fifth Circuit in Hewitt.

113.    First, Ms. Branch was not paid any salary at all (she was instead paid on an hourly basis).

114.    Second, even if Ms. Branch was paid some guaranteed, minimum salary per week, that

salary did not have a reasonable relationship with Ms. Branch’s actual earnings of approximately

$8,500 per month.

115.    Third and finally, Ms. Branch was not expected to earn the minimum, “total annual

compensation” due to a “highly compensated employee” of $107,432 in 2021 even if her pay did

have some sort of reasonable relationship to her guaranteed salary.

116.    Accordingly, Ms. Branch was misclassified by CVS as an exempt employee when in reality

she was owed minimum and overtime wages under the FLSA.

117.    Accordingly, CVS owes Ms. Branch unpaid overtime pay for the weeks in which she

worked an excess of 40 hours, at a rate of 1.5 times Ms. Branch’s actual rate of pay.

118.    Upon information and belief, Ms. Branch regularly worked at least 45 hours per week in


                                                15
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 16 of 23




each week she was employed by CVS.

119.    Accordingly, CVS is liable to pay Ms. Branch her unpaid overtime wages, totaling

approximately $21,527.10, plus liquidated damages equal to the amount of unpaid overtime wages,

for total damages under FLSA overtime provisions totaling $43,054.20. CVS is also liable to pay

Ms. Branch’s reasonable attorney’s fees and costs incurred in this matter.

B.      Unlawful Failure to Pay Minimum Wages in Violation of the Fair Labor Standards
        Act against CVS (Individual Claim)

120.    Ms. Branch states an individual cause of action for unlawful failure to pay minimum wages

against CVS under the Fair Labor Standards Act.

121.    Plaintiff incorporates herein all prior allegations of this complaint.

122.    Additionally, under the Fair Labor Standards Act, “[e]very employer shall pay to each of

his employees . . . not less than . . . $7.25 an hour . . . .” 29 U.S.C. § 206(a)(1).

123.    Ms. Branch worked more than 37.5 hours per week almost every week of her employment

with CVS for approximately 52 weeks.

124.    Upon information and belief, CVS failed to pay Ms. Branch any wages at all for the 2.5

hours of work between 37.5 and 40 hours per week she almost always worked.

125.    Upon information and belief, in total, CVS failed to pay Ms. Branch approximately 145

hours of regular pay during her employment.

126.    At the minimum rate of $7.25 per hour, upon information and belief, CVS owes Ms. Branch

at least an additional, approximate $1,051.25 in unpaid regular wages, plus liquidated damages

equal to the amount of unpaid minimum wages, for total damages under FLSA overtime provisions

totaling $2,102.50. CVS is also liable to pay Ms. Branch’s reasonable attorney’s fees and costs

incurred in this matter.



                                                   16
         Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 17 of 23




C.        Unlawful Failure to Pay Minimum and Overtime Wages in Violation of the Fair
          Labor Standards Act against CVS (Collective Action Claim)

127.      Ms. Branch, on behalf of herself and all other employees similarly situated, states a

collective cause of action for unlawful failure to pay minimum and overtime wages against CVS

under the Fair Labor Standards Act. 29 U.S.C. § 216(b) (providing for collective action by one

employee on behalf of herself and other employees similarly situated).

128.      Ms. Branch incorporates herein all prior allegations of this complaint.

129.      Upon information and belief, Ms. Branch is similarly situated to all other staff pharmacists

employed by CVS pharmacies within the state of Louisiana because:

     •    CVS assigns all its Louisiana staff pharmacists substantially identical job descriptions,

          responsibilities, and duties;

     •    CVS misclassifies all its Louisiana staff pharmacists as exempt from the minimum and

          overtime wages provisions under the FLSA when they are actually not exempt;

     •    CVS pays all their staff pharmacists on an hourly basis (and not a salary basis);

     •    CVS does not pay any of its staff pharmacists for any hours worked during a week greater

          than 37.5.

     •    All of CVS’s Louisiana staff pharmacists regularly work more than 40 hours per week but

          are not paid required minimum or overtime wages for that work;

     •    CVS does not pay any of its Louisiana staff pharmacists any guaranteed salary at all; or, if

          any such salary is paid, the salary has no reasonable relationship to actual amount of wages

          the staff pharmacist earns per week;

     •    None of CVS’s Louisiana staff pharmacists qualify under the FLSA’s so-called “medical

          occupation” exemption as a matter of law;


                                                  17
         Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 18 of 23




     •    Because CVS does not pay any of its Louisiana staff pharmacists on a salary basis – or,

          even if CVS does, the salary has no reasonable relationship to the actual amount of wages

          the staff pharmacist earns per week – none of CVS’s Louisiana staff pharmacists qualify

          under the so-called “professional exemption” of the FLSA with respect to non-payment of

          minimum or overtime wages otherwise due; and,

     •    The only material issue that differentiates any of CVS’s Louisiana staff pharmacist’s FLSA

          claims in this case is the particular number of uncompensated hours the staff pharmacist

          worked, and how much unpaid compensation that pharmacist is ultimately due.

130.      At the appropriate time, Ms. Branch intends to file a motion with this Court to (1) certify

the class of similarly situated employees in this action as all of CVS’s current and former Louisiana

staff pharmacists for at least the past three years; (2) to require CVS pharmacy to produce a list of

all its current and former Louisiana staff pharmacists for at least the past three years along with

their full contact information; (3) to require CVS to post a notice of this collective action in a

conspicuous place in all current Louisiana CVS pharmacy locations and any other locations in

which staff pharmacists work; and (4) to require CVS pharmacy to send an approved notice of this

collective action to all its current and former Louisiana staff pharmacists within the class with

instructions on how to opt into the class if the class member so desires.

131.      Accordingly, on behalf of herself and all other similarly situated employees, CVS owes all

its Louisiana staff pharmacists within the certified class their unpaid minimum and overtime wages

for at least the past three years, plus liquidated damages equal to the amount of those unpaid wages,

along with the class members’ reasonable attorney’s fees and costs in this matter.

D.        Unlawful Failure to Pay Owed Wages under Louisiana Revised Statute 23:631

132.      Ms. Branch states a cause of action against CVS for her earned but unpaid wages pursuant


                                                  18
          Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 19 of 23




to Louisiana’s so-called “Last Paycheck Law” codified at La. Rev. Stat. Ann. § 23:631 et seq.

133.       Under La. Rev. Stat. Ann. § 23:631 employers are strictly liable to pay an employee’s last

paycheck at most 15 days after the termination of their employment for any reason: “Upon the

discharge of any laborer or other employee of any kind whatever, it shall be the duty of the person

employing such laborer or other employee to pay the amount then due under the terms of

employment, whether the employment is by the hour, day, week, or month, on or before the next

regular payday or no later than fifteen days following the date of discharge, whichever occurs

first.”

134.       Under La. Rev. Stat. Ann. § 23:632: “any employer who fails or refuses to comply with

the provisions of R.S. 23:631 shall be liable to the employee either for ninety days wages at the

employee's daily rate of pay, or else for full wages from the time the employee's demand for

payment is made until the employer shall pay or tender the amount of unpaid wages due to such

employee, whichever is the lesser amount of penalty wages.”

135.       In Louisiana, vacation time is considered “wages” and, once vacation time has accrued, it

is considered the property of the employee. Thus, unused earned time for paid vacation must be

paid at termination. Beard v. Summit Institute of Pulmonary Medicine, 707 So.2d 1233 (La. Sup.

Ct. 1998); La. Rev. Stat. Ann. §§ 23:631, 634, & 636.

136.       First, upon information and belief, and separate and apart from Ms. Branch’s unpaid wages

claim under the FLSA, Ms. Branch routinely worked more than 37.5 hours in a week, but CVS

never paid Ms. Branch for those additional hours worked.

137.       Upon information and belief, Ms. Branch worked approximately 45 hours per week almost

every week of her approximate 52 weeks of full-time employment before her constructive

discharge, for approximately 382.5 hours of unpaid work.


                                                   19
       Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 20 of 23




138.    At Ms. Branch’s regular rate of pay of $56.28, CVS thus owes Ms. Branch $21,527.10 in

unpaid regular wages under Louisiana state law.

139.    Additionally, at the time of her constructive discharge, Ms. Branch had accrued 64.50 of

unpaid vacation time and an additional 8 hours of unpaid “Holiday Float” time to be paid at her

regular rate of $56.28, for a total of 72.50 hours of unpaid vacation time worth $4,080.30.

140.    Eventually, after more than 15 days had elapsed after Ms. Branch’s constructive discharge,

CVS paid Ms. Branch 27 hours of unpaid vacation time (but still owes Ms. Branch 45.5 hours of

accrued, unpaid vacation time).

141.    Nevertheless, to date, CVS has failed to pay Ms. Branch both her (1) hourly wages actually

due and (2) her accrued vacation time actually due.

142.    Ms. Branch timely and repeatedly demanded payment of her unpaid vacation time, but

CVS refused to fully pay Ms. Branch those wages.

143.    More than 90 days has passed since CVS was liable to pay Ms. Branch all her unpaid wages

and accrued vacation time in this case.

144.    Accordingly, CVS is strictly liable for the outstanding amount of Ms. Branch’s accrued

wages and vacation time, plus penalty wages worth 90 days’ pay, valued at Ms. Branch’s typical

earnings of approximately $422.10 per day, for total penalty wages of $37,989. CVS is also liable

to Ms. Branch for her reasonable attorney’s fees and costs incurred in this matter.

                             RESREVATION OF AMENDMENT

        Ms. Branch reserves the right to amend this lawsuit as circumstances warrant.

                                          JURY DEMAND

        Ms. Branch requests a trial by jury on all claims and causes of action asserted and triable

by jury in this matter.


                                                20
      Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 21 of 23




                                     PRAYER FOR RELIEF

       WHEREFORE, plaintiff Dawn Branch, on behalf of herself and all employees similarly

situated, prays that her complaint be deemed good and sufficient; that it and summons be served

upon defendant CVS Pharmacy, Inc.; and, after due proceedings are had, that judgment be entered

in favor of plaintiff and against defendant providing the following relief:

       1.      The entry of a declaratory judgment against defendant declaring that the
               practices complained of in this complaint are unlawful under the FLSA, and
               that defendant willfully violated the rights of Plaintiff under the FLSA;

       2.      At the appropriate time, and upon motion by Ms. Branch in her
               representative capacity, to certify a collective action in this matter among
               the class of CVS’s current and former Louisiana staff pharmacists employed
               at least within the past three years;

       3.      An award of unpaid overtime wages under the FLSA to the plaintiff and, to
               the extent this Court certifies a collective class at the appropriate time, all
               other similarly situated employees, including unpaid minimum and
               overtime wages and any negative tax consequence paid or owed by plaintiff
               associated with these payments;

       4.      An award of liquidated damages under the FLSA to the plaintiff and, to the
               extent this Court certifies a collective class at the appropriate time, all other
               similarly situated employees, equal to the amount of plaintiff and each
               similarly situated employee’s unpaid minimum and overtime wages;

       5.      An award of wages equal to plaintiff’s actually accrued and unpaid regular
               wages and vacation time under the Louisiana Last Paycheck Act;

       6.      An award of penalty damages to the plaintiff under the Louisiana Last
               Paycheck Act, equal to 90 days of plaintiff’s average daily earnings at the
               time of her constructive discharge;

       7.      Under the FLSA, an award of reasonable attorney’s fees, expert witness
               fees, costs, and pre-judgment and post-judgment interest incurred in this
               matter to the plaintiff and, to the extent this Court certifies a collective class
               at the appropriate time, all other similarly situated employees;

       8.      Under the Louisiana Last Paycheck Law, an award of reasonable attorney’s
               fees, expert witness fees, costs, and pre-judgment and post-judgment
               interest incurred in this matter to the plaintiff;


                                                  21
Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 22 of 23




 9.    Injunctive relief compelling CVS to correctly classify its Louisiana staff
       pharmacists as not exempt under the FLSA’s minimum and overtime wages
       provisions, and to pay its staff pharmacists correctly; and,

 10.   An award for all other legal and equitable relief to which plaintiff is entitled.

                                       Respectfully submitted:

                                       /s/ Kevin S. Vogeltanz
                                       Kevin S. Vogeltanz, TA (Bar #32746)
                                       Alec Szczechowski (Bar #38422)
                                       The Law Office of Kevin S. Vogeltanz, LLC
                                       823 Carroll Street, Suite A
                                       Mandeville, LA 70448
                                       Telephone: (504) 275-5149
                                       Facsimile: (504) 910-1704
                                       Email: vogeltanz@gmail.com

                                       Attorneys for Dawn Branch
                                       (in her individual and representative capacities)




                                          22
DocuSign Envelope ID: ED7B39BD-0FA7-4C72-B538-418A5EC6DC5C
                   Case 2:22-cv-00641-JTM-DPC Document 1 Filed 03/12/22 Page 23 of 23




                                     IN THE UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF LOUISIANA

            DAWN BRANCH

                            Plaintiff,

                    v.                                             CIVIL NO.

            CVS PHARMACY INC.

                            Defendant.


                                          DECLARATION OF DAWN BRANCH

                    I, Dawn Branch, am over the age of 18 years, and declare under penalty of perjury pursuant

            to 28 U.S.C. § 1746 that the foregoing facts are true and correct to the best of my knowledge and

            recollection:

            1.      I am the named plaintiff in the lawsuit Branch v. CVS Pharmacy Inc., No. To-Be-

            Determined, filed contemporaneously in the United States District Court for the Eastern District

            of Louisiana.

            2.      I authorized my attorney, Kevin S. Vogeltanz, to file the above captioned original

            Complaint in this matter.

            3.      I verify that, at the time of its filing, each allegation of the Complaint was true and correct

            to the best of my knowledge and recollection.

                    I declare under penalty of perjury that the foregoing is true and correct to the best of my

            knowledge and recollection. Executed this March 2, 2022.




                                                                   Dawn Branch
